Case 2:10-cr-20235-DPH-RSW ECF No. 474, PageID.3786 Filed 10/31/14 Page 1 of 11




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

       Plaintiff-Respondent,                       Criminal Case No. 10-20235
 v.                                                Civil Case No. 14-12838
                                                   HON. DENISE PAGE HOOD
 ALEXIS REDD RODGERS (D-5),

      Defendant-Petitioner.
 ________________________________/

           ORDER DENYING MOTION UNDER 28 U.S.C. § 2255
           TO VACATE, SET ASIDE, OR CORRECT SENTENCE,
             ORDER DISMISSING CIVIL CASE NO. 14-12838
                               and
          ORDER DENYING CERTIFICATE OF APPEALABILITY

 I.    BACKGROUND

       On January 18, 2012, Defendant Alexis Redd Rodgers entered a plea of

 guilty on the Indictment as to the following charges: Conspiracy to Distribute and

 to Possess with Intent to Distribute More Than Five Kilograms of Controlled

 Substance-Cocaine, 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 851 (Count 1);

 Unlawful Use of a Communication Facility, 21 U.S.C. §§ 843(b) and 843(d)(1)

 (Count 6); and, Felon in Possession of a Firearm, 18 U.S.C. §§ 922(g)(1) and

 924(a)(2) (Count 14). Rodgers was sentenced to concurrent terms of imprisonment

 as follows: 108 months on Count 1; 48 months on Count 6l; and 108 months on

 Count 14. The terms of imprisonment are to be followed by concurrent terms of
Case 2:10-cr-20235-DPH-RSW ECF No. 474, PageID.3787 Filed 10/31/14 Page 2 of 11




 supervised release: 60 months on Count 1; 12 months on Count 6; and 12 months

 on Count 14. (Judgment, Doc. No. 392, filed August 29, 2013) No appeal was

 filed by Rodgers.

       On July 21, 2014, Rodgers filed the instant Motion to Vacate, Set Aside, or

 Correct Sentence under 28 U.S.C. § 2255. (Doc. No. 453) The Government filed

 a response. (Doc. No. 472)

 II.   ANALYSIS

       Section 2255 authorizes a federal prisoner to move the district court to

 vacate a sentence. 28 U.S.C. § 2255(a). Motions brought under 28 U.S.C. § 2255

 are subject to a one-year limitations period established by the Antiterrorism and

 Effective Death Penalty Act of 1996 (“AEDPA”). Dunlap v. United States, 250

 F.3d 1001, 1004-05 (6th Cir. 2001).          The AEDPA established a one-year

 limitations period for § 2255 motions, generally running from “the date on which

 the judgment of conviction becomes final.” 28 U.S.C. § 2255(f)(1). When a

 movant does not pursue a direct appeal to the court of appeals, the conviction

 becomes final on the date the time for filing such an appeal expires. Sanchez-

 Castellano v. United States, 358 F.3d 424, 428 (6th Cir. 2004).

       Under the Sixth Amendment, a defendant has a right to “have the Assistance

 of Counsel for his defence.” U.S. Const. Amend. VI. A defendant under the Sixth


                                          2
Case 2:10-cr-20235-DPH-RSW ECF No. 474, PageID.3788 Filed 10/31/14 Page 3 of 11




 Amendment has a right to “reasonably effective assistance of counsel.” Strickland

 v. Washington, 466 U.S. 668, 687 (1984). In Strickland, the Supreme Court

 articulated a two prong test for ineffective counsel:

                     First, the defendant must show that counsel’s
              performance was deficient. This requires showing that
              counsel made errors so serious that counsel was not
              functioning as the “counsel” guaranteed the defendant by
              the Sixth Amendment. Second, the defendant must show
              that the deficient performance prejudiced the defense.
              This requires showing that counsel’s errors were so
              serious as to deprive the defendant of a fair trial, a trial
              whose result is reliable. Unless a defendant makes both
              showings, it cannot be said that the conviction . . .
              resulted from a breakdown of the adversary process that
              renders the result unreliable.

 Id. “There is a strong presumption that legal counsel is competent.” United States

 v. Osterbrock, 891 F.2d 1216, 1220 (6th Cir. 1989). In addition, a “reviewing

 court must give a highly deferential scrutiny to counsel’s performance.” Ward v.

 United States, 995 F.2d 1317, 1321 (6th Cir. 1993). “The reasonableness of

 counsel’s performance is to be evaluated from counsel’s perspective at the time of

 the alleged error and in light of all the circumstances.” Kimmelman v. Morrison,

 477 U.S. 365, 384 (1986). “The defendant must show that there is a reasonable

 probability that, but for counsel’s unprofessional errors, the result of the

 proceeding would have been different. A reasonable probability is a probability

 sufficient to undermine confidence in the outcome.” Strickland, 466 U.S. at 694.

                                           3
Case 2:10-cr-20235-DPH-RSW ECF No. 474, PageID.3789 Filed 10/31/14 Page 4 of 11




             2.     Sentencing Issues

       Rodgers claims he received ineffective assistance of counsel based on three

 sentencing related issues: 1) failure to make an objection to the improper

 calculation of criminal history score; 2) failure to make an objection to the 851

 enhancement; and, 3) wrongful classification and designation in the Bureau of

 Prisons.

                    a.    Criminal History Score

       Rodgers claims that he should not have received criminal history points for a

 prior state court misdemeanor conviction of False Report of Felony, M.C.L. §

 750.411(a)(1)(b), where he did not receive a sentence of imprisonment of at least

 sixty days. Rodgers argues that he should not have received criminal history

 points for this prior misdemeanor conviction where he was given “full credit” for

 the time served. Absent the miscalculation, Rodgers asserts he would have been

 placed under criminal history category II, with a Sentencing Guideline Range of 97

 to 108 months of imprisonment. The Government responds that the Rule 11 Plea

 Agreement expressly noted there were no sentencing guideline disputes and that

 the criminal history category was not miscalculated.

       The Rule 11 Plea Agreement states that, “[t]here are no sentencing guideline

 disputes” and that the maximum guideline range is “240 months’ imprisonment.”


                                          4
Case 2:10-cr-20235-DPH-RSW ECF No. 474, PageID.3790 Filed 10/31/14 Page 5 of 11




 (Rule 11 Plea Agreement, ¶ 2.B) Rodgers waived any appeal as to his conviction or

 sentence if the sentence imposed does not exceed the maximum recommended

 sentence. (Rule 11 Plea Agreement, Part 3)

       Based on the Rule 11 Plea Agreement language, the district court may hold

 the parties to the terms of the plea agreement. United States v. Ross, 245 F.3d 577,

 586 (6th Cir. 2001). As expressly set forth in the Agreement, Rodgers agreed there

 were no sentencing guideline disputes.       The Court sentenced Rodgers to 108

 months in Counts 1 and 14 to be served concurrently, which is well below the 240

 months’ maximum imprisonment term under the Rule 11 Agreement. Rodgers’

 sentencing guideline argument in this motion has no merit since he waived any

 guideline range issue.

       Specifically addressing Rodgers’ claim that he should not have received 2

 points for his False Report of a Felony conviction where he received 90 days time

 served and that “full credit” was given for the time served, the Court finds the 2

 points, instead of 1 point as argued by Rodgers, was properly assessed. U.S.S.G. §

 4A1.1 provides 2 points for each prior sentence of imprisonment of at least sixty

 days in calculating criminal history scores. Rodgers was sentenced on July 12,

 2011 for the False Report of a Felony, and, as admitted by Rodgers in his motion,

 served 90 days in jail for that charge. Rodgers was not given “credit” for the time


                                          5
Case 2:10-cr-20235-DPH-RSW ECF No. 474, PageID.3791 Filed 10/31/14 Page 6 of 11




 served on the state offense, but instead was given a state sentence to run concurrent

 with his federal sentence in this case. However, Rodgers was not sentenced in this

 case until August 22, 2013, which meant that Rodgers served the 90 days for the

 False Report of a Felony in July 2011, well before his federal sentence imposed in

 August 2013. Rodgers has not shown that his counsel committed error in failing to

 object to the 2 points assigned to his False Report of a Felony conviction in state

 court since there is no such error. It is noted that even with Rodgers’ argued

 Sentencing Guideline Range of 97 to 108 months of imprisonment, the Court’s

 sentence of 108 months in Counts 1 and 14, served concurrently, is still within this

 alternative range.

                      b.   § 851 Enhancement

       Rodgers argues that his counsel was ineffective for failing to object to the §

 851 Enhancement by the Government. Rodgers claims that he received 3 years

 probation on the state drug conviction for Delivery/Manufacture/Less than 50

 grams of drug and that this conviction does not qualify as a predicate for an § 851

 Enhancement. The Government responds that the § 851 Enhancement does not

 depend on the actual sentence received by a defendant, but rather the maximum

 sentence permitted under the charge.

       The mandatory minimum sentence for possession with intent to distribute


                                          6
Case 2:10-cr-20235-DPH-RSW ECF No. 474, PageID.3792 Filed 10/31/14 Page 7 of 11




 more than 5 kilograms of cocaine is 10 years, which may be enhanced to 20 years

 “if any person commits such a violation after a prior conviction for a ‘felony drug

 offense’ has become final.” 21 U.S.C. §§ 841(b)(1)(A)(ii), 841(b)(1)(A)(ii)(II).

 The definition of “felony drug offense” in 21 U.S.C. § 802(44) is the definition for

 purposes of 21 U.S.C. § 841(b)(1)(A). Burgess v. United States, 533 U.S. 124, 132

 (2008). Section 802(44) defines “felony drug offense” as an “offense that is

 punishable by imprisonment for more than one year under any law of the United

 States or of a State or foreign country that prohibits or restricts conduct relating to

 narcotic drugs, marihuana, anabolic steroids, or depressant or stimulant

 substances.” 21 U.S.C. § 802(44)(italics added). If the Government seeks to

 enhance a sentence based on a prior conviction, the Government must file in

 writing the prior conviction to be relied upon.         21 U.S.C. § 851(a).       The

 Government filed its penalty enhancement information on December 21, 2011.

 (Doc. No. 240)

       Rodgers was convicted in state court in 2005 for Delivery or Manufacturing

 Less than 50 Grams of Cocaine, in violation of M.C.L. § 333.7401(2)(a)(iv), which

 is punishable by a maximum of 20 years. Although Rodgers was sentenced to 3

 years of probation, the state statute provided a sentence of up to 20 years of

 imprisonment. The Sixth Circuit has used this statute as a qualifying underlying


                                           7
Case 2:10-cr-20235-DPH-RSW ECF No. 474, PageID.3793 Filed 10/31/14 Page 8 of 11




 drug felony for purposes of sentencing enhancements as a career offender under

 U.S.S.G. § 4B1.1. See United States v. Caper, 2014 WL 3318327 (6th Cir. 2014).

 The § 851 Enhancement Notice was properly filed. Rodgers has not shown that his

 counsel’s failure to object to the enhancement notice was in error.

                    c.     Bureau of Prisons’ Classification and Designation

       Rodgers argues that because his criminal history score was miscalculated,

 this resulted in an improper Bureau of Prisons’ Classification and Designation.

 Because there was no criminal history score miscalculation as set forth above, any

 resulting Bureau of Prisons’ improper classification and designation argument is

 without merit. Rodgers has not shown that his counsel erred in failing to object to

 the BOP’s classification and designation.

       To the extent that Rodgers is claiming that the Bureau of Prisons

 miscalculated his custody designation and classification status, he is actually

 challenging the manner in which the BOP is executing his sentence. The proper

 vehicle to address the BOP’s execution of a sentence is under a 28 U.S.C. § 2241

 writ of habeas corpus, not under § 2255.

                    d.     Summary

       Based on the above analysis, the Court finds that Rodgers failed to show that

 his counsel’s performance was deficient under the first prong of the Strickland test.


                                             8
Case 2:10-cr-20235-DPH-RSW ECF No. 474, PageID.3794 Filed 10/31/14 Page 9 of 11




 The Court finds that Rodgers’ counsel did not err in failing to object to the criminal

 history scoring, in failing to object to the § 851 Enhancement, and in failing to

 object to the Bureau of Prison’s classification and designation. Rodgers failed to

 show that the sentence imposed was in violation of the Constitution or law of the

 United States, or that the Court was without jurisdiction to impose the sentence, or

 that the sentence was in excess of the maximum authorized by law. Rodgers’ §

 2255 motion must be denied and dismissed.

 III.   CERTIFICATE OF APPEALABILITY

        Federal Rule of Appellate Procedure 22 provides that an appeal may not

 proceed unless a certificate of appealability is issued under 28 U.S.C. § 2253. Rule

 11 of the Rules Governing Section 2225 Proceedings, which was amended as of

 December 1, 2009, requires that a district court must issue or deny a certificate of

 appealability when it enters a final order. A certificate of appealability may issue

 “only if the applicant has made a substantial showing of the denial of a

 constitutional right.” 28 U.S.C. § 2253(c)(2). Courts must either issue a certificate

 of appealability indicating which issues satisfy the required showing or provide

 reasons why such a certificate should not issue. 28 U.S.C. § 2253(c)(3); Fed. R.

 App. P. 22(b); In re Certificates of Appealability, 106 F.3d 1306, 1307 (6th Cir.

 1997).


                                           9
Case 2:10-cr-20235-DPH-RSW ECF No. 474, PageID.3795 Filed 10/31/14 Page 10 of 11




           For the reasons set forth above, the Court finds that a certificate of

  appealability will not be issued in this case since the issues raised are without

  merit.

  IV.      CONCLUSION

           For the reasons set forth above,

           IT IS ORDERED that the Motion to Vacate, Set Aside or Correct Sentence

  under 28 U.S.C. § 2255 [Criminal Case No. 10-20125, Doc. No. 453, filed July

  21, 2014] is DENIED.

           IT IS FURTHER ORDERED that the Motion to Vacate, Set Aside or

  Correct Sentence under 28 U.S.C. § 2255 [Civil Case No. 14-12838] is

  DISMISSED with prejudice and designated as CLOSED.

           IT IS FURTHER ORDERED that the Motion to Proceed In Forma Pauperis

  and for Sentencing Transcripts [Criminal Case No. 10-20125, Doc. No. 446] and

  Request for Reduction of Sentence and Appointment of Counsel [Criminal Case

  No. 10-20125, Doc. No. 452] are DENIED. Alexis Redd Rodgers’ defense did not

  proceed under the Criminal Justice Act, 18 U.S.C. § 3006A. Rodgers has not

  submitted the appropriate forms and affidavits to show his eligibility to proceed in

  forma pauperis in this motion. Rodgers also failed to show that the issues raised in

  this motion required the sentencing transcripts or appointment of counsel. Rules


                                              10
Case 2:10-cr-20235-DPH-RSW ECF No. 474, PageID.3796 Filed 10/31/14 Page 11 of 11




  Governing Sec. 2255 Proceedings, Rule 8(c).

         IT IS FURTHER ORDERED that a certificate of appealability not issue in

  this case.




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                                             DENISE PAGE HOOD
                                             United States District Judge
  DATED:




                                        11
